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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

        CHAMBERS OF                                                                   U.S. COURTHOUSE
     CATHERINE C. BLAKE                                                          101 WEST LOMBARD STREET
UNITED STATES DISTRICT JUDGE                                                    BALTIMORE, MARYLAND 21201
                                                                                         (410) 962-3220
                                                                                       Fax (410) 962-6836
                                         April 29, 2020


 MEMORANDUM TO COUNSEL

        Re:      United States v. Cheryl Glenn
                 Criminal No. CCB-19-0351

 Dear Counsel:

         As you know, the defendant Cheryl Glenn had been scheduled for sentencing on
 May 8, 2020. In light of the current public health circumstances and the court’s standing
 orders, I propose that the sentencing be postponed until sometime after June 5,
 2020. Please let me know if there is any objection to this postponement. If not, I ask
 counsel to contact chambers after June 5, 2020, to obtain a new date.

        Despite the informal nature of this ruling, it shall constitute an Order of Court,
 and the Clerk is directed to docket it accordingly.




                                                 Sincerely yours,

                                                        /S/

                                                 Catherine C. Blake
                                                 United States District Judge
